Case 1:22-cv-01092-GBW       Document 33      Filed 09/20/23    Page 1 of 16 PageID #: 481
  Case 1:22-cv-01092-GBW Document 32-1 Filed 08/24/23 Page 1 of 15 PagelD #: 466




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

  AMERICAN GENERAL LIFE
  INSURANCE COMPANY,

               Plaintiff,

        V.                                           C.A. No. 22-1092-GBW

  WILMINGTON TRUST,
  NATIONAL ASSOCIATION,

               Defendant.

  WILMINGTON TRUST,
  NATIONAL ASSOCIATION,

               Defendant/Counter-Plaintiff,

        V.


  AMERICAN GENERAL LIFE
  INSURANCE COMPANY,

               Plaintiff/Counter-Defendant.


                       riB.01'"®EDtSCHEDULING ORDER

        Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure and Local Rule

  16.1 , Plaintiff/Counter-Defendant American General Life Insurance Company and

  Defendant/Counter-Plaintiff Wilmington Trust National Association (collectively

  "the Parties") jointly agree and respectfully request that the Court order as follows:
Case 1:22-cv-01092-GBW       Document 33         Filed 09/20/23   Page 2 of 16 PageID #: 482
  Case 1:22-cv-01092-GBW Document 32-1 Filed 08/24/23 Page 2 of 15 PagelD #: 467




        1.     Rule 26(a)(l) Initial Disclosures and E-Discovery Default Standard

        The parties shall make their initial disclosures pursuant to Federal Rule of

  Civil Procedure 26(a)(l) within fifteen (15) days of the date the Court entered this

  order. If they have not already done so, the parties are to review the Court' s Default

  Standard for Discovery, Including Disclosure of Electronically Stored Information

  ("ESI"), which is posted at http://www.ded.uscourts.gov (see Other Resources,

  Default Standard for Discovery) and is incorporated herein by reference.

        2.     Joinder of Other Parties and Amendment of Pleadings.

        All motions to join other parties, and to amend or supplement the pleadings, shall
                                       30
  be filed on or_before September       2023. Unless otherwise ordered by the Court,

  any motion to join a party or motion to amend the pleadings shall be made pursuant

  to the procedures set forth in Paragraphs 3(g) and 4.

        3.     Discovery.

        Unless otherwise ordered by the Court or agreed to by the Parties, the

  limitations on discovery set forth in the Federal Rules of Civil Procedure shall be

  strictly observed.

               (a.)    Fact Discovery Cut Off.

        All fact discovery in this case shall be initiated so that it will be completed on

  or before February 16, 2024.




                                             2
Case 1:22-cv-01092-GBW          Document 33          Filed 09/20/23   Page 3 of 16 PageID #: 483
  Case 1:22-cv-01092-GBW Document 32-1 Filed 08/24/23 Page 3 of 15 PagelD #: 468




                  (b.)   Document Production.

        Document production shall be substantially complete by January 26, 2024.

  Productions shall be made on a rolling basis.

               (c.)      Disclosure of Expert Testimony.

                         1.    Expert Reports.

        For the party who has the initial burden of proof on the subject matter, the

  initial Federal Rule 26(a)(2) disclosure of expert testimony is due on or before

  February 28, 2024. The supplemental disclosure to contradict or rebut evidence

  on the same matter identified by another party is due on or before March 29, 2024.

  Reply expert reports are due on or before April 12, 2024. No other expert reports

  will be permitted without either the consent of all parties or leave of the Court. Along

  with the submissions of the expert reports, the parties shall advise of the dates and

  times of their experts' availability for deposition. Any expert depositions shall be

  taken no later than April 12, 2024.

                         11.   Objections to Expert Testimony.

        To the extent any objection to expert testimony is made pursuant to the

  principles announced in Daubert v. Merrell Dow Pharm., Inc. , 509 U.S. 579 (1993),

  as incorporated in Federal Rule of Evidence 702, it shall be made by motion no later

  than the deadline for dispositive motions set forth herein, unless otherwise ordered

  by the Court.


                                                 3
Case 1:22-cv-01092-GBW        Document 33          Filed 09/20/23    Page 4 of 16 PageID #: 484
  Case 1:22-cv-01092-GBW Document 32-1 Filed 08/24/23 Page 4 of 15 PagelD #: 469




                      111.    Expert Discovery Cut Off.

        All expert discovery in this case shall be initiated so that it will be completed

  on or before April 30, 2024.

               (d.)    Discovery Matters and Disputes Relating to Protective Orders.

                       1.     Any discovery motion filed without first complying with

  the following procedures will be denied without prejudice to renew.

                       11.    Should counsel find, after good faith efforts -     including

  verbal communications among Delaware and Lead Counsel for all parties to the

  dispute -   that they are unable to resolve a discovery matter or a dispute relating to

  a protective over, the parties involved in the discovery matter or protective order dispute

  shall submit a joint letter in substantially the following form:

                Dear Judge Williams:

                       The parties in the above-referenced matter
                       write to request the scheduling of a discovery
                       teleconference.

                       The following attorneys, including at least one
                       Delaware Counsel and at least one Lead Counsel per
                       party, participated in a verbal meet-and-confer (in
                       person and/or by telephone) on the
                       following date(s):
                       Delaware Counsel: - - - - - - - - - - -

                       Lead Counsel:

                       The disputes requiring judicial attention are listed below:
                                               4
Case 1:22-cv-01092-GBW        Document 33        Filed 09/20/23   Page 5 of 16 PageID #: 485
  Case 1:22-cv-01092-GBW Document 32-1 Filed 08/24/23 Page 5 of 15 PagelD #: 470




                       [provide here a non-argumentative list of disputes requiringjudicial
               attention]

                      111.   On a date to be set by separate order, generally not less

  than forty-eight (48) hours prior to the conference, the party seeking relief shall file

  with the Court a letter, not to exceed three (3) pages, outlining the issues in dispute

  and its position on those issues. On a date to be set by separate order, but generally

  not less than twenty-four (24) hours prior to the conference, any party opposing the

  application for relief may file a letter, not to exceed three (3) pages, outlining that

  party's reasons for its opposition.

                      1v.    Each party shall submit two (2) courtesy copies of its

  discovery letter and any attachments.

                      v.     Should the Court find further briefing necessary upon

  conclusion of the conference, the Court will order it. Alternatively, the Court may

  choose to resolve the dispute prior to the conference and will, in that event, cancel

  the conference.

        4.     Motions to Amend.

               (a.)   Any motion to amend (including a motion for leave to amend) a

               pleading shall NOT be accompanied by an opening brief but shall,

               instead, be accompanied by a letter, not to exceed three (3) pages,

               describing the basis for the requested relief, and shall attach the


                                             5
Case 1:22-cv-01092-GBW      Document 33          Filed 09/20/23   Page 6 of 16 PageID #: 486
  Case 1:22-cv-01092-GBW Document 32-1 Filed 08/24/23 Page 6 of 15 PagelD #: 471




              proposed amended pleading as well as a "blackline" comparison to the

              prior pleading.

              (b.)   Within seven (7) days after the filing of a motion in compliance

              with this Order, any party opposing such a motion shall file a responsive

              letter, not to exceed five (5) pages.

              (c.)   Within three (3) days thereafter, the moving party may file a

              reply letter, not to exceed two (2) pages, and, by this same date, the

              parties shall file a letter requesting a teleconference to address the

              motion to amend.

        5.    Motions to Strike.

              (a.)   Any motion to strike any pleading or other document shall NOT

              be accompanied by an opening brief but shall, instead, be accompanied

              by a letter, not to exceed three (3) pages, describing the basis for the

              requested relief, and shall attach the document to be stricken.

              (b.)   Within seven (7) days after the filing of a motion in compliance

              with this Order, any party opposing such a motion shall file a responsive

              letter, not to exceed five (5) pages.

              (c.)   Within three (3) days thereafter, the moving party may file a

              reply letter, not to exceed two (2) pages, and, by this same date, the




                                             6
Case 1:22-cv-01092-GBW        Document 33         Filed 09/20/23   Page 7 of 16 PageID #: 487
  Case 1:22-cv-01092-GBW Document 32-1 Filed 08/24/23 Page 7 of 15 PagelD # : 472




               parties shall file a letter requesting a teleconference to address the

               motion to strike.

        6.     Application to Court for Protective Order.

        Should counsel find it will be necessary to apply to the Court for a protective

  order specifying terms and conditions for the disclosure of confidential information,

  counsel should confer and attempt to reach an agreement on a proposed form of order

  and submit it to the Court within ten (10) days from the date the Court enters this Order.

  Should cminsel be unable to reach an agreement on a proposed form of order, counsel

  must follow the provisions of Paragraph 3(g) above. Any proposed protective order

  must include the following paragraph:

                Other Proceedings. By entering this order and limiting the
                disclosure of information in this case, the Court does not
                intend to preclude another court from finding that
                information may be relevant and subject to disclosure in
                another case. Any person or party subject to this order who
                becomes subject to a motion to disclose another party's
                information designated "confidential" [the parties should
                list any other level of designation, such as "highly
                confidential," which may be provided for in the protective
                order] pursuant to this order shall promptly notify that party
                of the motion so that the party may have an opportunity to
                appear and be heard on whether that information should be
                disclosed.

        7.     Papers Filed Under Seal.

                In accordance with section G of the Revised Administrative Procedures

   Governing Filing and Service by Electronic Means, a redacted version of any sealed


                                              7
Case 1:22-cv-01092-GBW         Document 33        Filed 09/20/23   Page 8 of 16 PageID #: 488
  Case 1:22-cv-01092-GBW Document 32-1 Filed 08/24/23 Page 8 of 15 PagelD #: 473




   document shall be filed electronically within seven (7) days of the filing of the sealed

   document.

         8.    Courtesy Copies.

                The parties shall provide to the Court two (2) courtesy copies of all

   filings (i.e., briefs, appendices, exhibits, declarations, affidavits etc.). Courtesy

   copies of appendices and exhibits should include hard tabs. This provision also

   applies to papers filed under seal.

         9.    Case Dispositive Motions.

               (a.)     All case dispositive motions, an opening brief, and affidavits, if

               any, in support of any, in support of the motion shall be served and filed

               on or before May 10, 2024. Briefing will be presented pursuant to the

               Court's Local Rules. No case dispositive motion under Rule 56 may be

               filed more than ten (10) days before the above date without leave of the

               Court.

               (b.)     Concise Statement of Facts Requirement.

               Any motion for summary judgment shall be accompanied by a separate

  concise statement, not to exceed six (6) pages, which details each material fact which

  the moving party contends is essential for the Court's resolution of the summary

  judgment motion (not the entire case) and as to which the moving party contends there




                                              8
Case 1:22-cv-01092-GBW        Document 33         Filed 09/20/23   Page 9 of 16 PageID #: 489
  Case 1:22-cv-01092-GBW Document 32-1 Filed 08/24/23 Page 9 of 15 PagelD #: 474




  is no genuine issue to be tried. Each fact shall be set forth in a separate numbered

  paragraph and shall be supported by specific citation(s) to the record.

               Any party opposing the motion shall include with its opposing papers a

  response to the moving party's concise statement, not to exceed six (6) pages, which

  admits or disputes the facts set forth in the moving party's concise statement on a

  paragraph-by-paragraph basis. To the extent a fact is disputed, the basis of the dispute

  shall be supported by specific citation(s) to the record. Failure to respond to a fact

  presented in the moving party's concise statement of facts shall indicate that fact is not

  in dispute for purposes of summary judgment. The party opposing the motion may also

  include with its opposing papers a separate concise statement, not to exceed four (4)

  pages, which sets forth material facts as to which the opposing party contends there is

  a genuine issue to be tried. Each fact asserted by the opposing party shall also be set

  forth in a separate numbered paragraph and shall be supported by specific citation(s)

  to the record.

               The moving party shall include with its reply papers a response to the

  opposing party's concise statement of facts, not to exceed four (4) pages, on a

  paragraph-by-paragraph basis. Failure to respond to a fact presented in the

  opposing party's concise statement of facts shall indicate that fact remains in

  dispute for purposes of summary judgment.

               (c.)   Ranking of Summary Judgment Motions.


                                              9
Case 1:22-cv-01092-GBW         Document 33       Filed 09/20/23     Page 10 of 16 PageID #: 490
  Case 1:22-cv-01092-GBW Document 32-1 Filed 08/24/23 Page 10 of 15 PagelD #: 475




                Any party that files more than one summary judgment motion shall

   number each motion to indicate the order in which the party wishes the Court to

   review its pending motions. The first motion the party wishes the Court to consider

   shall be designated # 1, the second motion shall be designated #2, and so on. The

   Court will review the party's summary judgment motions in the order designated by

   the party. If the Court decides to deny a motion filed by the party, barring exceptional

   reasons determined sua sponte by the Court, the Court will not review any lower

   ranked summary judgment motions filed by the party.

          10.   Applications by Motion.

          Except as otherwise specified herein, any application to the Court shall be

   by written motion. Any non-dispositive motion should contain the statement

   required by Local Rule 7 .1.1.

          11.   Motions in Limine.

          Motions in limine shall not be separately filed. All in limine requests and

   responses thereto shall be set forth in the proposed pretrial order. Each party shall be

   limited to three (3) in limine requests, unless otherwise permitted by the Court. The

   in limine request and any response shall contain the authorities relied upon; each in

   limine request may be supported by a maximum of three (3) pages of argument, may

   be opposed by a maximum of three (3) pages of argument, and the party making the

   in limine request may add a maximum of one (1) additional page in reply in support


                                               10
Case 1:22-cv-01092-GBW         Document 33        Filed 09/20/23     Page 11 of 16 PageID #: 491
  Case 1:22-cv-01092-GBW Document 32-1 Filed 08/24/23 Page 11 of 15 PagelD #: 476




   of its request. If more than one party is supporting or opposing an in limine request,

   such support or opposition shall be combined in a single three (3) page submission

   (and, if the moving party, a single one (1 ) page reply), unless otherwise ordered by

   the Court. No separate briefing shall be submitted on in limine requests, unless

   otherwise permitted by the Court.

          12.    Pretrial Conference.       ~-\i)~,M,
          On 1 ~"¥' 3 ,   ~ tfi":'f~J::,ill hold a pretrial conference in Court with
   counsel. The parties shall file with the Court the joint proposed final pretrial order

   in compliance with Local Rule 16.3(c) and the Court's Preferences and

   Procedures for Civil Cases not later than seven (7) days before the pretrial

   conference. Unless otherwise ordered by the Court, the parties shall comply with

   the timeframes set forth in Local Rule 16.3(d)(l)-(3) for the preparation of the

   joint proposed final pretrial order. The Court will advise the parties at or before

   the above-scheduled pretrial conference whether an additional pretrial

   conference will be necessary.

          The parties shall provide the Court two (2) courtesy copies of the joint

   proposed final pretrial order and all attachments. The proposed final pretrial order shall

   contain a table of contents and the paragraphs shall be numbered.




                                                11
Case 1:22-cv-01092-GBW Document 33 Filed 09/20/23 Page 12 of 16 PageID #: 492
  Case 1:22-cv-01092-GBW Document 32-1 Filed 08/24/23 Page 12 of 15 PagelD #: 477




          13.    Jury Instructions, Voir Dire, and Special Verdict Forms.

          Where a case is to be tried to a jury, pursuant to Local Rules 47.l(a)(2) and

   51.1 the parties should file (i) proposed voir dire, (ii) preliminary jury instructions,

   (iii) final jury instructions, and (iv) special verdict forms seven (7) full days before the

   final pretrial conference. This submission shall be accompanied by a courtesy copy

   containing electronic files of these documents, in Microsoft Word format, which may

   be submitted by e-mail to gbw civil@ded.uscourts.gov.

          14.    Trial.

          This matter is scheduled for a 4-day jury trial beginning at 9:30 a.m. on
                '2.025
  Ju"'e ~ , ~ with the subsequent trial days beginning at 9:30 a.m. Until the case is
   submitted to the jury for deliberations, the jury will be excused each day at 5:30 p.m.

   The trial will be timed, as counsel will be allocated a total number of hours in which to

   present their respective cases.

          15.    ADR Process.

           This matter is referred to a magistrate judge to explore the possibility of

   alternative dispute resolution.

          16.    Page/Word Limitations.

         Where page limits are specified by order or rule, the parties shall use a word-

   count limit. For each page allowed by order or rule, the parties shall use up to 250

   words. For example, where the page limit specified by rule is 20 pages, the



                                               12
Case 1:22-cv-01092-GBW          Document 33      Filed 09/20/23      Page 13 of 16 PageID #: 493
  Case 1:22-cv-01092-GBW Document 32-1 Filed 08/24/23 Page 13 of 15 PagelD #: 478




   maximum number of words for a party's submission would be 5,000 (20 x 250). A

   certification as to the total number of words must be included in any submission.

             17.   Font.

         The text for all briefs, letters, motions, and concise statements of fact shall be

   14-point and in Times New Roman or similar typeface. Each such filing must

   include a certification by counsel that the filing complies with the type, font, and

   word limitations set forth in this Order. The person who prepares the certification

   may rely on the word count of the word-processing system used to prepare the

   filing.

             18.   Compendium of Cases.

             A party may submit with any briefing two (2) courtesy copies of a

   compendium of the selected authorities on which the party would like the Court to

   focus. Compendiums of cases shall not be filed electronically with the Court, but a

   notice of service of a compendium of cases shall be filed electronically with the

   Court.

             19.   Relevant Deadlines and Dates.

             All relevant deadlines and dates established by this Order are set forth in the

   chart attached as Exhibit A.




                                                13
Case 1:22-cv-01092-GBW   Document 33   Filed 09/20/23   Page 14 of 16 PageID #: 494




                                           GREGORYB. WILLIAMS
                                           UNITED STATES DISTRICT JUDGE




                                       1
Case 1:22-cv-01092-GBW    Document 33    Filed 09/20/23   Page 15 of 16 PageID #: 495
  Case 1:22-cv-01092-GBW Document 32-1 Filed 08/24/23 Page 14 of 15 PagelD #: 479




          EXHIBIT A
Case 1:22-cv-01092-GBW Document 33 Filed 09/20/23 Page 16 of 16 PageID #: 496
  Case 1:22-cv-01092-GBW Document 32-1 Filed 08/24/23 Page 15 of 15 PagelD #: 480




                              Joint Proposed Case Schedule

                           Event                        Pronosed Date/Deadline
    Rule 26(b )(1) Initial Disclosures                 Within 15 days of the date
                                                             of this Orcjer
    Deadline to Amend Pleadings/Add Parties               September \ ~ 023
    Substantial Completion of Document Production                         '

    Deadline                                                 January 26, 2024
    Fact Discovery Deadline
                                                             February 16, 2024
    Opening Expert Reports
                                                             February 28, 2024
    Rebuttal Expert Reports
                                                              March 29, 2024
    Reply Expert Reports                                      April 12, 2024

    Expert Depositions                                        April 12, 2024

    Close of Expert Discovery
                                                               April 30, 2024
    Dispositive Motion Deadline
                                                               May 10,2024
    Final Pretrial Conference                                TUI\P,   1   '1,0 7.i;, t,;\kS 1 P
    Trial Date                                               J~nP.    9 I 101..'1 \
